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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SMARTMATIC          USA     CORP.,
 SMARTMATIC          INTERNATIONAL
 HOLDING B.V., and SGO CORPORATION                                Case No. 23-2200
 LIMITED,                                               [D. Minn. Case No. 22-cv-0098-WMW-
                                                                        JFD]
                        Plaintiffs,

                   v.                                      DECLARATION OF ANDREW D.
                                                                   PARKER
 MICHAEL J. LINDELL and MY PILLOW,
 INC.,

                        Defendants.


I, Andrew D. Parker, being first duly sworn, states as follows:

       1.      I am an attorney with the law firm of Parker Daniels Kibort LLC and am one of the

attorneys representing the Defendants in the above-referenced case. As such have personal

knowledge of the dates, events, and facts stated below. I submit this Declaration in support of the

Defendants’ Motion to Compel Compliance with Deposition Subpoena to Carlotta Wells.

       2.      Attached as Exhibit A is a fair and accurate copy of the Complaint filed as Doc. 1

on January 31, 2006 in case no. 3:06-cv-00056-MMD-VPC, Montgomery et al. v. eTreppid

Technologies, Inc. et al., in the United States District Court for the District of Nevada.

       3.      Attached as Exhibit B is a fair and accurate copy of the Notice of Motion and

Motion for Protective Order by the United States, filed as Doc. 83 on September 25, 2006, in case

no. 3:06-cv-00056-MMD-VPC, Montgomery et al. v. eTreppid Technologies, Inc. et al., in the

United States District Court for the District of Nevada.




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       4.      Attached as Exhibit C is a fair and accurate copy of the Order filed as Doc. 252 on

August 29, 2007, in case no. 3:06-cv-00056-MMD-VPC, Montgomery et al. v. eTreppid

Technologies, Inc. et al., in the United States District Court for the District of Nevada.

       5.      Attached as Exhibit D is a fair and accurate copy of the United States Protective

Order filed as Doc. 253 on August 29, 2007, in case no. 3:06-cv-00056-MMD-VPC, Montgomery

et al. v. eTreppid Technologies, Inc. et al., in the United States District Court for the District of

Nevada.

       6.      Attached as Exhibit E is a fair and accurate copy of the Transcript of Continued

Order to Show Cause Hearing filed as Doc. 731 on July 3, 2008, in case no. 3:06-cv-00056-PMP-

VPC, Montgomery et al. v. eTreppid Technologies, Inc. et al., in the United States District Court

for the District of Nevada.

       7.      Attached as Exhibit F is a fair and accurate copy of the Transcript of Hearing filed

as Doc. 732 on July 8, 2008, in case no. 3:06-cv-00056-PMP-VPC, Montgomery et al. v. eTreppid

Technologies, Inc. et al., in the United States District Court for the District of Nevada.

       8.      Attached as Exhibit G is a fair and accurate copy of the Transcript of Continued

Show Cause Hearing filed as Doc. 834 on September 3, 2008, in case no. 3:06-cv-00056-PMP-

VPC, Montgomery et al. v. eTreppid Technologies, Inc. et al., in the United States District Court

for the District of Nevada.

       9.      Attached as Exhibit H is a fair and accurate copy of the Declaration of Dennis L.

Montgomery filed as Doc. 1216-2 on August 20, 2022, in case no. 3:06-cv-00056-MMD-CSD,

Montgomery et al. v. eTreppid Technologies, Inc. et al., in the United States District Court for the

District of Nevada.
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         10.      Attached as Exhibit I is a fair and accurate copy of the transcript of a videotaped

 deposition filed as Doc. 2115-5 on January 14, 2011, in case no. 2:10-bk-18510-bb, In re: Dennis

 and Kathleen Montgomery, in the United States Bankruptcy Court for the Central District of

 California.

         11.      Attached as Exhibit J is a fair and accurate copy of the Declaration of Plaintiff

 Dennis Montgomery filed as Doc. 40-1 on April 27, 2015, in case no. 1:15-cv-20782-JEM,

 Montgomery v. Risen et al., in the United States District Court for the Southern District of Florida.

         12.      On behalf of the Defendants in this matter, I issued a subpoena to Carlotta Wells to

provide a deposition. A fair and accurate copy of the subpoena is attached as Exhibit K. A fair and

accurate copy of the affidavit of service on Ms. Wells, from the process server, is attached as

Exhibit L.

         13.      Attached as Exhibit M is a fair and accurate copy of a letter I received by email on

April 3, 2023.

         14.      In August 2022, Michael Lindell moved to intervene in case no. 3:06-cv-00056-

MMD-VPC, Montgomery et al. v. eTreppid Technologies, Inc. et al., in the United States District

Court for the District of Nevada, for the purpose of lifting the Protective Order entered by the court

in that action. Attached as Exhibit N is a fair and accurate copy of Lindell’s Memorandum in

Support of Motion to Intervene and to Lift Protective Order, filed on August 20, 2022 as doc. 1216

in that action.

         15.      Attached as Exhibit O is a fair and accurate copy of United States’ Memorandum

in Opposition to Motion to Intervene and to Lift Protective Order, filed on October 6, 2022 as doc.

1232 in case no. 3:06-cv-00056-MMD-VPC, Montgomery et al. v. eTreppid Technologies, Inc. et

al. in the United States District Court for the District of Nevada.
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        16.     Attached as Exhibit P is a fair and accurate copy of Report & Recommendation of

United States Magistrate Judge, filed on May 15, 2023 as doc. 1254 in case no. 3:06-cv-00056-

MMD-VPC, Montgomery et al. v. eTreppid Technologies, Inc. et al. in the United States District

Court for the District of Nevada.

        17.     Attached as Exhibit Q is a fair and accurate copy of the First Supplemental

Complaint filed as Doc. 125 on April 7, 2023, in case no. 0:22-cv-00098-WMW-JFD, Smartmatic

et al. v. Lindell et al., in the United States District Court for the District of Minnesota.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on July

28, 2023, in Hennepin County, Minnesota.



                                                   /s/ Andrew D. Parker
                                                  Andrew D. Parker (D.C. Bar No. 63279)
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